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_________________________________________________________________________________

                                                  SO ORDERED,



                                                  Judge Jason D. Woodard
                                                  United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                     UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF MISSISSIPPI (ABERDEEN)

IN RE: DAVID L. CARTER                                      CASE NO.: 14-14131-JDW
BRENDA CARTER                                               CHAPTER 13
AKA BRUNELLA CARTER

               AGREED ORDER WITHDRAWING MOTION TO MODIFY
                   CHAPTER 13 PLAN AFTER CONFIRMATION

       This Matter having been set for hearing on August 13, 2019 at 1:30 p.m. on the Motion to

Modify Chapter 13 Plan (Dk#69) filed by Debtor and the Responses to Motion (Dk#73) filed by

Bank of America, N.A. and (Dk#70) filed by the Trustee, and the Court being advised that parties

are in agreement that the Debtor’s Motion is premature and should be withdrawn.

       Therefore, the Motion to Modify Chapter 13 Plan (Dk#69) filed by Debtor is hereby

withdrawn and Bank of America, N.A.'s response (Dk#73) and the Trustee's response (Dk#70) are

now moot.

                                    ##END OF ORDER##
APPROVED:

/s/ Karen B. Schneller
Karen B. Schneller
Attorney for Debtor

/s/ Kimberly D. Mackey
Kimberly D. Mackey
Attorney for Movant

/s/ W. Jeffrey Collier
Locke D. Barkley, Trustee
Or Attorney for Trustee
